                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

         CHRISTOPHER SALOMAN and                                Case No.
         MICHAEL STRAUSS, Individually and on
         Behalf of All Others Similarly Situated,               CLASS ACTION COMPLAINT

                                          Plaintiffs,
                 v.
                                                                JURY TRIAL DEMANDED
        REALPAGE, INC.; AVALONBAY
        COMMUNITIES, INC.; BELL
        PARTNERS, INC.; BH MANAGEMENT
        SERVICES, LLC; BOZZUTO
        MANAGEMENT COMPANY; CAMDEN
        PROPERTY TRUST; CONAM
        MANAGEMENT CORP.; CORTLAND
        PARTNERS, LLC; FPI MANAGEMENT,
        INC.; GREYSTAR REAL ESTATE
        PARTNERS, LLC; HIGHMARK
        RESIDENTIAL, LLC; LANTOWER
        LUXURY LIVING, LLC; LINCOLN
        PROPERTY COMPANY; MID-
        AMERICA APARTMENT
        COMMUNITIES, INC.; PINNACLE
        PROPERTY MANAGEMENT
        SERVICES, LLC; RPM LIVING, LLC;
        UDR, INC.; and ZRS MANAGEMENT,
        LLC.
                               Defendants.


                Plaintiffs Christopher Saloman and Michael Strauss, individually and on behalf of all

       others similarly situated (the “Classes,” as defined below), upon personal knowledge as to the facts

       pertaining to themselves and upon information and belief as to all other matters, and based on the

       investigation of counsel, bring this class action complaint to recover treble damages, injunctive

       relief, and other relief as appropriate, based on violations of federal antitrust laws by Defendants

       RealPage, Inc.; AvalonBay Communities, Inc.; Bell Partners, Inc.; BH Management Services,

       LLC; Bozzuto Management Company; Camden Property Trust; ConAm Management Corp.;

       Cortland Partners, LLC; FPI Management, Inc.; Greystar Real Estate Partners, LLC; Highmark


             Case 3:23-cv-00381 Document    DIMOND1    Filed& ROTHSTEIN,
                                                    KAPLAN    03/16/23 P.A.Page 1 of 39 PageID #: 1
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         Residential, LLC; Lantower Luxury Living, LLC; Lincoln Property Company; Mid-America

         Apartment Communities, Inc.; Pinnacle Property Management Services, LLC; RPM Living, LLC;

         UDR, Inc.; and ZRS Management, LLC.

                                                NATURE OF THE ACTION

                 1.       This action arises from Defendants’ conspiracy to fix, raise, maintain, and stabilize

         rental housing prices in the Miami,1 Orlando,2 Jacksonville,3 and Tampa,4 Florida housing markets

         (the “Greater Miami Metro Area,” “Greater Orlando Metro Area,” “Greater Jacksonville Metro

         Area,” and “Greater Tampa Metro Area,” respectively).

                 2.       Defendants are RealPage, Inc. (“RealPage”), the developer of a software platform

         called “AI Revenue Management” (previously known as “YieldStar”), and several managers of

         large-scale residential apartment buildings that used RealPage’s software platform to coordinate




         1
                 As used throughout this Complaint, the Greater Miami Metro Area is coterminous with the Miami-Fort
         Lauderdale-Pompano Beach, FL Metropolitan Statistical Area, as established by the United States Office of
         Management and Budget. Specifically, the Greater Miami Metro Area consists of the Florida cities of Boca Raton,
         Boynton Beach, Coral Gables, Deerfield Beach, Delray Beach, Doral, Fort Lauderdale, Jupiter, Kendall, Miami,
         Miami Beach, Palm Beach Gardens, Pompano Beach, Sunrise, West Palm Beach, and surrounding areas. References
         to Miami throughout this Complaint, unless specifically limited, refer to the Greater Miami Metro Area.
         2
                 As used throughout this Complaint, the Greater Orlando Metro Area is coterminous with the Orlando-
         Kissimmee-Sanford, FL Metropolitan Statistical Area, as established by the United States Office of Management and
         Budget. Specifically, the Greater Orlando Metro Area consists of the Florida cities of Orlando, Kissimmee, Sanford,
         and surrounding areas. References to Orlando throughout this Complaint, unless specifically limited, refer to the
         Greater Orlando Metro Area.
         3
                  As used throughout this Complaint, the Greater Jacksonville Metro Area is coterminous with the
         Jacksonville, FL Metropolitan Statistical Area, as established by the United States Office of Management and Budget.
         Specifically, the Greater Jacksonville Metro Area consists of the Florida city of Jacksonville and surrounding areas.
         References to Jacksonville throughout this Complaint, unless specifically limited, refer to the Greater Jacksonville
         Metro Area.
         4
                  As used throughout this Complaint, the Greater Tampa Metro Area is coterminous with the Tampa-St.
         Petersburg-Clearwater, FL Metropolitan Statistical Area, as established by the United States Office of Management
         and Budget. Specifically, the Greater Tampa Metro Area consists of the Florida cities of Tampa, St. Petersburg,
         Clearwater, Largo, Pinellas Park, and surrounding areas. References to Tampa throughout this Complaint, unless
         specifically limited, refer to the Greater Tampa Metro Area.



                                                 2
               Case 3:23-cv-00381 Document  1 Filed
                                    DIMOND KAPLAN    03/16/23P.A.Page 2 of 39 PageID #: 2
                                                  & ROTHSTEIN,
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         and agree upon rental housing pricing, among other things, in Miami, Orlando, Jacksonville, and

         Tampa, Florida.

                    3.    AI Revenue Management works by collecting vast amounts of non-public data from

         its client property managers regarding lease transactions, rent prices, occupancy levels, and

         virtually every other possible data point that drives rent. This data is fed into an algorithm, along

         with additional data collected from Defendant RealPage’s myriad other data analytics and rental

         management software products. RealPage’s algorithm uses that data to generate a rental price for

         each of RealPage’s client’s available units, which is updated daily. RealPage makes sure all of its

         clients know that to maximize revenues, they must accept the software’s rental price at least 80%-

         90% of the time, and RealPage’s “Revenue Management Advisors” monitor clients’ compliance

         with that recommendation. As the allegations and evidence set forth below demonstrate, RealPage

         and the property managers who use its revenue management services constitute a price-fixing

         cartel, and the revenue growth they have achieved is possible only through coordinated price

         setting.

                    4.    With the assurance that their competitors are respectively setting Miami, Orlando,

         Jacksonville, and Tampa rental prices using the same algorithm, each Defendant property manager

         could allow a larger share of their units to remain vacant while maintaining higher rental prices

         across their properties. This increased their revenue at the expense of renters.

                    5.    Defendants’ strategy only succeeded because of the pricing coordination among

         competing property managers enabled by this cartel.                 Knowing this, Defendant RealPage

         repeatedly and explicitly emphasizes that for the software to work properly, everyone needs to

         accept its suggested price at least 80%-90% of the time. As one property manager using RealPage




                                                 3
               Case 3:23-cv-00381 Document  1 Filed
                                    DIMOND KAPLAN    03/16/23P.A.Page 3 of 39 PageID #: 3
                                                  & ROTHSTEIN,
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         put it: “[W]e are all technically competitors . . . [but RealPage] helps us work together . . . to

         work with a community in pricing strategies, not to work separately.”

                 6.       Before the introduction of coordinated rent-setting software, residential property

         managers generally set prices independently, to maximize occupancy. Allowing apartments to

         stand vacant in Miami, Orlando, Jacksonville, and Tampa at their advertised rental prices made

         little sense when similar apartments in the area were available for less. Thus, in the past, property

         managers had an incentive to lower rents until all available units were occupied. Allowing

         apartments to sit, unoccupied, would not be a profitable strategy unless there was some assurance

         or expectation that other property managers in the Miami, Orlando, Jacksonville, and Tampa

         would similarly allow their units to remain vacant without lowering rents. Defendant RealPage’s

         software provides such an assurance.

                 7.       Beyond the anticompetitive exchange of nonpublic and competitively sensitive

         information among competing property managers, Defendant RealPage uses additional

         mechanisms to facilitate coordination among cartel members and prevent cheating by conspiracy

         participants.    First, by allowing property managers to outsource their rent-setting process,

         RealPage causes them to consider higher rent prices than they ever would have before. In the

         words of an executive at one of RealPage’s major clients: “The beauty of YieldStar is that it pushes

         you to go places that you wouldn’t have gone if you weren’t using it.”5

                 8.       Second, Defendant RealPage polices cartel members by applying heavy pressure

         on them to accept the algorithm’s suggested price at least 80%-90% of the time. The AI Revenue

         Management service includes more than its rent-setting algorithm. Clients can expect constant




         5
                  Heather Vogell, Rent Going Up? One Company’s Algorithm Could Be Why, PROPUBLICA (Oct. 15, 2022)
         (quoting Kortney Balas, director of revenue management at JVM Realty).



                                                 4
               Case 3:23-cv-00381 Document  1 Filed
                                    DIMOND KAPLAN    03/16/23P.A.Page 4 of 39 PageID #: 4
                                                  & ROTHSTEIN,
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         communication with one or more of RealPage’s Revenue Management Advisors who provide

         “expert oversight of [clients’] pricing strategy.”6 Any client property manager who chooses to

         diverge from the algorithm’s price is expected to provide justification to a Revenue Management

         Advisor.

                     9.      Third, the software also recommends lease renewal dates for its clients’ properties.

         Using Defendant RealPage’s vast store of data on lease transactions, the algorithm suggests dates

         that are staggered to avoid temporary periods of oversupply resulting from the natural ebb and

         flow of the market.7 This further reduces the incentive for property managers to undercut would-

         be competitors, which is the strongest during these temporary oversupply periods.

                     10.     Fourth, Defendant RealPage facilitates direct information exchanges between

         competitors and provides opportunities for direct coordination of prices. It hosts online forums,

         organizes in-person events for its clients,8 and maintains standing committees of cartel members

         to advise on pricing strategy.9

                     11.     As the property managers acknowledge, they are competitors. Yet, Defendant

         RealPage’s clients shared a common goal of increasing rent prices across the board and understood

         that RealPage – which has been explicit that its aim is to help its clients “outperform the market

         [by] 3% to 7%”10 – was the means by which to do it. RealPage’s clients include many of the



         6
                  RealPage      AI    Revenue      Management,         REALPAGE,        INC.,        https://www.realpage.com/
         assetoptimization/ revenue-management/ (last visited Nov. 1, 2022).
         7
                Revenue Management: Proven in Any Market Cycle: See How These Companies Outperformed During
         Downturns 3 (2020) (ebook), https://www.realpage.com/ebooks/outperform-in-a-down-market/.
         8
                  Susan Gaide, Real World 2022 Customer Conference Recap, RealPage, Inc., (July 29, 2022),
         https://www.realpage.com/blog/realworld-2022-customer-conference-recap/ (last visited Dec. 7, 2022).
         9
                     User Group Overview, REALPAGE, INC., https://www.realpage.com/user-group/overview/ (last visited Nov.
         1, 2022).
         10
                     Vogell, supra note 5 (citing RealPage web page which has since been removed).



                                                 5
               Case 3:23-cv-00381 Document  1 Filed
                                    DIMOND KAPLAN    03/16/23P.A.Page 5 of 39 PageID #: 5
                                                  & ROTHSTEIN,
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         largest property managers in Miami, Orlando, Jacksonville, and Tampa, who control a majority of

         the rental units in desirable neighborhoods in each of those markets. A recent analysis conducted

         by ProPublica showed that rents in areas where RealPage clients control a high percentage of rental

         units have increased at a significantly higher rate than those where the company’s influence is

         weaker.11

                  12.     Defendants’ price fixing conspiracy is a per se unlawful restraint of trade under

         Section 1 of the Sherman Act. It has resulted in artificially inflated rent prices and a diminished

         supply of rental units in each of the Greater Miami, Orlando, Jacksonville, and Tampa Metro

         Areas.     Plaintiffs and members of each Class, who rent in the Greater Miami, Orlando,

         Jacksonville, and Tampa Metro Areas, respectively, from property managers that use Defendant

         RealPage’s software, paid significant overcharges on rent, and suffered harm from the reduced

         availability of rental units they could reasonably afford.

                                             JURISDICTION AND VENUE

                  13.     Plaintiffs bring this antitrust class action lawsuit pursuant to Sections 4 and 16 of

         the Clayton Act (15 U.S.C. §§15 and 26), to recover treble damages and the costs of suit, including

         reasonable attorneys’ fees, for the injuries sustained by Plaintiffs and members of the Classes; to

         enjoin Defendants’ anticompetitive conduct; and for such other relief as is afforded under the laws

         of the United States for Defendants’ violations of Section 1 of the Sherman Act (15 U.S.C. §1).

                  14.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§1331, 1337, and

         Sections 4 and 16 of the Clayton Act (15 U.S.C. §§15(a) and 26).

                  15.     Venue is proper in this District pursuant to Sections 4, 12, and 16 of the Clayton

         Act (15 U.S.C. §§15, 22, and 26), and pursuant to 28 U.S.C. §1391(b), (c), and (d), because, at all


         11
                  Id.



                                                 6
               Case 3:23-cv-00381 Document  1 Filed
                                    DIMOND KAPLAN    03/16/23P.A.Page 6 of 39 PageID #: 6
                                                  & ROTHSTEIN,
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         relevant times, one or more of the Defendants resided, transacted business, was found, is licensed

         to do business, and/or had agents in this District.

                 16.      This Court has personal jurisdiction over each Defendant because, among other

         things, each Defendant: (a) transacted business throughout the United States, including in this

         District; (b) leased residential units to individuals throughout the United States, including in this

         District; and/or (c) engaged in an antitrust conspiracy that was directed at and had a direct,

         foreseeable, and intended effect of causing injury to the business or property of persons residing

         in, located in, or doing business throughout the United States, including in this District.

                 17.      The activities of the Defendants and their co-conspirators, as described herein, were

         within the flow of, were intended to, and did have direct, substantial, and reasonably foreseeable

         effects on the interstate commerce of the United States.

                 18.      No other forum would be more convenient for the parties and witnesses to litigate

         this case.

                                                       THE PARTIES

                 19.      Plaintiff Christopher Saloman is a resident of Tampa, Florida. Mr. Saloman rented

         a residential unit in a property known as Trails at Hunters Lake in Tampa, Florida from 2022

         through the date of this filing. During that time, Greystar Real Estate Partners, LLC managed the

         property using RealPage software. Consequently, Mr. Saloman has paid higher rental prices by

         reason of the violations alleged herein.

                 20.      Plaintiff Michael Strauss is a resident of Miami, Florida. Mr. Strauss rented a

         residential unit in a property known as Midtown Five in Miami, Florida from 2017 to 2019. During

         that time, Greystar Real Estate Partners, LLC managed the property using RealPage software.

         Consequently, Mr. Strauss has paid higher rental prices by reason of the violations alleged herein.




                                                 7
               Case 3:23-cv-00381 Document  1 Filed
                                    DIMOND KAPLAN    03/16/23P.A.Page 7 of 39 PageID #: 7
                                                  & ROTHSTEIN,
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                  21.     Defendant RealPage is a corporation headquartered in Richardson, TX, organized

         and existing under the laws of Delaware. RealPage provides software and services to managers of

         residential rental apartments, including the YieldStar/AI Revenue Management software described

         herein. RealPage was a public company from 2010 until December 2020, when it was purchased

         by Chicago-based private equity firm Thoma Bravo, LP, in a transaction that valued RealPage at

         approximately $10.2 billion.12 At that time, RealPage had over 31,700 clients, including each of

         the 10 largest multifamily property management companies in the U.S.13

                  22.     Defendant AvalonBay Communities, Inc. (“Avalon”) is an equity real estate

         investment trust (“REIT”) headquartered in Arlington, Virginia, organized and existing under the

         laws of Maryland. Avalon is a residential apartment manager with approximately 8 properties in

         the Greater Miami Metro Area.

                  23.     Defendant Bell Partners, Inc. (“Bell Partners”) is a corporation headquartered in

         Greensboro, NC, organized and existing under the laws of North Carolina. Bell Partners is a

         residential apartment manager with approximately 7 properties in the Greater Miami Metro Area,

         approximately 15 properties in the Greater Orlando Metro Area, approximately 2 properties in the

         Greater Tampa Metro Area, and approximately 10 properties in the Greater Jacksonville Metro

         Area.

                  24.     Defendant BH Management Services, LLC (“BH”) is a limited liability company

         headquartered in Des Moines, IA, organized and existing under the laws of Iowa. BH manages

         over 106,000 apartments nationally, including approximately 6 properties in the Greater Miami




         12
                  Press Release, RealPage, Inc., Thoma Bravo Completes Acquisition of RealPage (Apr. 22, 2021),
         https://www.realpage.com/news/thoma-bravo-completes-acquisition-of-realpage/.
         13
                  RealPage Inc., Annual Report (Form 10-K) at 6 (Mar. 1, 2021).



                                                   8
                 Case 3:23-cv-00381 Document  1 Filed
                                      DIMOND KAPLAN    03/16/23P.A.Page 8 of 39 PageID #: 8
                                                    & ROTHSTEIN,
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         Metro Area, approximately 9 properties in the Greater Tampa Metro Area, and approximately 17

         properties in the Greater Orlando Metro Area.

                 25.      Defendant Bozzuto Management Company (“Bozzuto”) is a corporation

         headquartered in Greenbelt, Maryland, organized and existing under the laws of Maryland.

         Bozzuto is a residential apartment manager with approximately 15 properties in the Greater Miami

         Metro Area, approximately 1 property in the Greater Orlando Metro Area, and approximately 2

         properties in the Greater Tampa Metro Area.

                 26.      Defendant Camden Property Trust (“Camden”) is a real estate investment trust

         headquartered in Houston, TX, organized and existing under the laws of Texas. Camden is a

         residential apartment manager with approximately 9 properties in the Greater Miami Metro Area,

         approximately 11 properties in the Greater Orlando Metro Area, and approximately 8 properties

         in the Greater Tampa Metro Area.

                 27.      Defendant CONAM Management Corp. (“CONAM”) is a California corporation

         headquartered in San Diego, California. CONAM manages over 51,000 apartments nationally,

         including approximately 5 properties in the Greater Orlando Metro Area, approximately 2

         properties in the Greater Tampa Metro Area, and approximately 4 properties in the Greater

         Jacksonville Metro Area.

                 28.      Defendant Cortland Partners, LLC (“Cortland”) is a limited liability company

         headquartered in Atlanta, GA, organized and existing under the laws of Georgia. Cortland

         manages over 58,000 apartments nationally, including approximately 12 properties in the Greater

         Miami Metro Area, approximately 16 properties in the Greater Orlando Metro Area, and

         approximately 11 properties in the Greater Tampa Metro Area.




                                                 9
               Case 3:23-cv-00381 Document  1 Filed
                                    DIMOND KAPLAN    03/16/23P.A.Page 9 of 39 PageID #: 9
                                                  & ROTHSTEIN,
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                 29.      Defendant FPI Management, Inc. (“FPI”) is a corporation headquartered in Folsom,

         CA, organized and existing under the laws of California. FPI is a residential property manager

         with over 140,000 units under its management, including approximately 33 properties in the

         Greater Miami Metro Area, and approximately 12 properties in the Greater Tampa Metro Area.

                 30.      Defendant Greystar Real Estate Partners, LLC (“Greystar”) is a limited liability

         company headquartered in Charleston, SC, organized and existing under the laws of Delaware.

         Greystar is by far the largest manager of residential rental apartments in the country, with over

         698,000 units under its management, including approximately 35 properties in the Greater Miami

         Metro Area, approximately 47 properties in the Greater Orlando Metro Area, approximately 5

         properties in the Greater Tampa Metro Area, and approximately 12 properties in the Greater

         Jacksonville Metro Area.

                 31.      Defendant Highmark Residential, LLC (“Highmark”) is a limited liability company

         headquartered in Dallas, TX, organized and existing under the laws of Delaware. Highmark is a

         residential apartment manager with approximately 16 properties in the Greater Miami Metro Area,

         approximately 33 properties in the Greater Orlando Metro Area, approximately 21 properties in

         the Greater Tampa Metro Area, and approximately 18 properties in the Greater Jacksonville Metro

         Area.

                 32.      Defendant Lantower Luxury Living, LLC (“Lantower”) is a limited liability

         company headquartered in Dallas, TX, organized and existing under the laws of Delaware.

         Lantower is a residential apartment manager with approximately 1 property in the Greater Miami

         Metro Area, approximately 3 properties in the Greater Orlando Metro Area, and approximately 4

         properties in the Greater Tampa Metro Area.




                                                10
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 10 of 39 PageID #: 10
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                 33.      Defendant Lincoln Property Company (“Lincoln”) is a corporation headquartered

         in Dallas, TX, organized and existing under the laws of Texas. Lincoln is a residential apartment

         manager with over 210,000 rental units under its management, including approximately 29

         properties in the Greater Miami Metro Area, approximately 16 properties in the Greater Orlando

         Metro Area, approximately 15 properties in the Greater Tampa Metro Area, and approximately 4

         properties in the Greater Jacksonville Metro Area.

                 34.      Defendant Mid-America Apartment Communities, Inc. (“MAA”) is a corporation

         headquartered in Germantown, Tennessee, organized and existing under the laws of Tennessee.

         MAA is a residential apartment manager with over 100,000 rental units under its management,

         including approximately 14 properties in the Greater Orlando Metro Area, approximately 14

         properties in the Greater Tampa Metro Area, and approximately 10 properties in the Greater

         Jacksonville Metro Area.

                 35.      Defendant Pinnacle Property Management Services, LLC (“Pinnacle”) is a

         Delaware limited liability corporation headquartered in Addison, Texas. Pinnacle is a residential

         apartment manager with approximately 9 properties in the Greater Miami Metro Area,

         approximately 7 properties in the Greater Orlando Metro Area, approximately 10 properties in the

         Greater Tampa Metro Area, and approximately 8 properties in the Greater Jacksonville Metro

         Area.

                 36.      Defendant RPM Living, LLC (“RPM”) is a limited liability company

         headquartered in Austin, TX, organized and existing under the laws of Texas. RPM manages over

         112,000 rental units nationally, including approximately 11 properties in the Greater Miami Metro

         Area, approximately 6 properties in the Greater Orlando Metro Area, approximately 1 property in




                                                11
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 11 of 39 PageID #: 11
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         the Greater Tampa Metro Area, and approximately 2 properties in the Greater Jacksonville Metro

         Area.

                 37.      Defendant UDR, Inc. (“UDR”) is a corporation headquartered in Highlands Ranch,

         CO, organized and existing under the laws of Maryland. UDR is a residential apartment manager

         with approximately 11 properties in the Greater Orlando Metro Area, and approximately 12

         properties in the Greater Tampa Metro Area.

                 38.      Defendant ZRS Management, LLC (“ZRS”) is a limited liability company

         headquartered in Orlando, FL, organized and existing under the laws of Florida. ZRS is a

         residential property manager with over 50,000 rental units under its management nationally,

         including approximately 24 properties in the Greater Miami Metro Area, approximately 24

         properties in the Greater Orlando Metro Area, approximately 19 properties in the Greater Tampa

         Metro Area, and approximately 20 properties in the Greater Jacksonville Metro Area.

                 39.      Various other persons, firms, and corporations not named as defendants have

         participated as co-conspirators with Defendants and have performed acts and made statements in

         furtherance of the conspiracy. The Defendants are jointly and severally liable for the acts of their

         co-conspirators whether or not named as defendants in this Complaint.

                 40.      Whenever reference is made to any act of any corporation, the allegation means

         that the corporation engaged in the act by or through its officers, directors, agents, employees, or

         representatives while they were actively engaged in the management, direction, control, or

         transaction of the corporation’s business or affairs. Each of the Defendants named herein acted as

         the agent of or for the other Defendants with respect to the acts, violations, and common course of

         conduct alleged herein.




                                                12
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 12 of 39 PageID #: 12
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                 41.      Defendants are also liable for acts done in furtherance of the alleged conspiracy by

         companies they acquired through mergers and acquisitions.

                                               FACTUAL ALLEGATIONS

                 A.       Historical Competition Among Residential Property Managers

                 42.      Before the introduction of software like YieldStar, competition in rental housing

         markets was driven by property managers’ desire to keep occupancy levels in their buildings as

         high as possible and to keep turnover among their tenants down.14 In addition to lost rent revenue

         caused by letting apartments sit empty, the costs of owning and maintaining a rental apartment are

         not significantly different whether the unit is occupied or not. This provides a strong incentive for

         property managers to lower their rents to fill vacant units. While property managers knew in theory

         that if they all resisted this temptation, they would all benefit from higher average rents, any

         individual property manager that lowered its rents to fill vacancies while the others did not would

         be able to gain market share at the others’ expense.

                 43.      As Donald Davidoff, the principal developer of the competing price-setting

         software that Defendant RealPage acquired in 2017, Lease Rent Options, explained in a 2020 blog

         post: “All [property managers] would be better off limiting their rent reductions; however, should

         one [property manager] lower their rents while the others don’t, then that operator would

         outperform. The result can be a race to the bottom that is not good for anyone, but the fear of

         missing out coupled with laws prohibiting collusion make this the most likely outcome.”15 This




         14
                 Supra note 7.
         15
                Donald Davidoff, They’re Heckling Revenue Management Again, THE DEMAND
         SOLUTIONS BLOG (Aug. 18, 2020), https://www.d2demand.com/mfhblog/theyre-heckling-
         revenue-management-again.


                                                13
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 13 of 39 PageID #: 13
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         so-called “race to the bottom” might be bad for all property managers but is, of course, good for

         renters. It represents nothing beyond healthy price competition.

                 44.      Absent collusion, property managers could not unilaterally raise rents above market

         rates – any property manager that did so would lose tenants to its competitors who offered rental

         units at market rates, granting them a higher share of the available profits. This dynamic causes

         rental prices in a competitive marketplace to be sensitive to changes in demand. For example,

         rents have historically gone up quickly in neighborhoods that become trendy, or when new public

         transportation infrastructure is added, and have fallen in areas where businesses close, or that new

         generations find less desirable than previous ones did. Any number of factors that made people

         want to live in a certain area or a certain type of apartment could cause rents to rise or fall

         accordingly. Rents were also historically responsive to changes in renters’ average income.

                 45.      As described more fully below, Defendants’ conspiracy avoids a race to the bottom,

         but it does so at the financial expense of their customers – the renters. It allows property managers

         to hike rents at a faster pace when demand is strong without needing to lower them when it is

         weak. It eases natural competitive constraints and causes renters to spend higher and higher

         portions of their incomes on housing.

                 B.       RealPage and AI Revenue Management

                 46.      Defendant RealPage markets a “comprehensive platform of data analytics and on

         demand software solutions and services for the rental real estate industry.”16 Its clients are

         managers of residential rental apartments, to which it offers an array of products for (1) marketing

         and leasing of apartments; (2) resident experience (including IT portals and rent payment

         software); (3) site management; (4) vendor and expense management; (5) budgeting and


         16
                 Supra note 5 at 6.


                                                14
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 14 of 39 PageID #: 14
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         investment; (6) accounting; (7) data analytics; and (8) so-called “revenue management” – advisory

         services on how to obtain higher rents on every unit. This “revenue management” service is the

         fulcrum of Defendants’ anticompetitive scheme.

                 47.       RealPage was founded in 1998, and in 2002 it acquired the original YieldStar

         software from Defendant Camden.17 Two years later, the company hired Jeffrey Roper as its

         principal scientist to improve YieldStar’s performance and grow its client base.18 Roper saw

         potential in the software as a means for RealPage’s customers to increase their revenue by

         maintaining higher average rents, but he realized that to function properly, the algorithm needed

         huge amounts of detailed data regarding rent prices and occupancy of individual units.19 RealPage

         began collecting information from its clients and other sources in a “data warehouse,” which the

         algorithm could mine. Beyond rent prices and occupancy rates, this data included records of actual

         lease transactions, signed lease documents, lease renewal dates, records of rent payments, and

         detailed data on tenants and their finances.

                 48.       Roper had previously helped design similar price-setting software for Alaska

         Airlines that also facilitated information exchange and price-fixing, according to the DOJ.20

         During his tenure as director of revenue management, Alaska Airlines and its competitor airlines

         began using common software to exchange information regarding planned routes and ticket prices




         17
                 Press Release, RealPage, Inc., RealPage Acquires YieldStar Multifamily Revenue
         Management System (July 19, 2002), https://www.realpage.com/news/realpage-acquires-
         yieldstar-multifamily-revenue-management-system/.
         18
                 See Vogell, supra note 5.
         19
                 See id.
         20
                Press Release, U.S. Dep’t of Just., Justice Department Settles Airlines Price Fixing Suit,
         May Save Consumers Hundreds of Millions of Dollars (Mar. 17, 1994), https://www.justice.gov/
         archive/atr/public/press_releases/1994/211786.htm.


                                                15
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 15 of 39 PageID #: 15
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         among themselves before that information became public.21 The software allowed the airlines to

         avoid price wars that would have lowered ticket prices. The Justice Department’s Antitrust

         Division filed suit against eight of the largest U.S. airlines, alleging that the software-enabled

         information exchange amounted to anticompetitive price fixing under the antitrust laws.22 A

         government economist calculated that the scheme cost consumers up to $1.9 billion.23 All eight

         airlines eventually entered into consent decrees requiring them to eliminate the information

         exchange features of the software that had enabled the conspiracy.24 At one point during the

         investigation, federal agents removed a computer and documents from Roper’s office at Alaska

         Airlines.25

                 49.      Much like the airlines’ price-fixing cartel, Defendants’ cartel avoids price wars and

         the “race to the bottom” during periods of oversupply. As Defendant RealPage declares to

         potential clients in its advertising materials: “You don’t have to sacrifice rent growth during a

         softening market.”26

                 50.      Naturally, YieldStar’s coordinated pricing strategy became more and more

         effective as more property managers implemented it. To this end, Defendant RealPage began

         buying up similar and competing software companies, and it has completed 26 acquisitions since

         its founding.27 The most important of these transactions came in 2017, when RealPage acquired

         21
                 Vogell, supra note 5.
         22
                Press Release, U.S. Dep’t of Just., Justice Department Files Price Fixing Suit Against Eight
         Airlines and Fare Dissemination System (Dec. 21, 1992), https://www.justice.gov/
         archive/atr/public/press_releases/1992/211323.htm.
         23
                 Supra note 20.
         24
                 Supra note 20.
         25
                 Vogell, supra note 5.
         26
                 Supra note 7.
         27
                 Bloomberg Company Report, RealPage, Inc. (generated Nov. 1, 2022).


                                                16
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 16 of 39 PageID #: 16
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         Lease Rent Options (LRO), a company which offered a similar rent-setting software that was

         YieldStar’s strongest rival. Instead of relying on nonpublic data from competitors, however,

         LRO’s algorithm used only public market data as input. LRO’s chief architect, Donald Davidoff,

         designed it that way specifically to avoid the potential antitrust violations arising from the use of

         nonpublic data to coordinate prices among competitors.28

                 51.      LRO’s software was not the most valuable piece of the acquisition for Defendant

         RealPage, however – its customer base was. At the time of the merger, RealPage was pricing 1.5

         million units. That number doubled with the acquisition.29 RealPage rebranded the product AI

         Revenue Management, and its client base and influence on rental markets in urban areas across

         the country continued to grow. RealPage’s website currently claims that its clients use AI Revenue

         Management to set the price for more than four million rental units.30 While the DOJ issued a so-

         called “Second Request” in connection with the proposed merger due to its potential effects on

         competition, DOJ took no further action, and RealPage completed the acquisition.31

                 52.      These four million units provide only a piece of the data available for Defendant

         RealPage’s algorithm to mine, however. According to RealPage’s last annual report before being

         acquired by Thoma Bravo, as of December 31, 2020, its “client base of over 31,700 clients used

         one or more of [its] integrated data analytics or on demand software solutions to help manage the

         operations of approximately 19.7 million rental real estate units.”32




         28
                 Vogell, supra note 5.
         29
                 Id.
         30
                RealPage AI Revenue Management, REALPAGE, INC., https://www.realpage.com/
         assetoptimization/revenue-management/ (last visited Nov. 1, 2022).
         31
                 Vogell, supra note 5.
         32
                 Id. at 14.


                                                17
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 17 of 39 PageID #: 17
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                 53.      Defendant RealPage’s vast client base provides it with real-time data on every

         aspect of the rental housing markets, including actual rent prices as opposed to advertised rents –

         data which was previously unavailable to landlords. RealPage advertises that the algorithm

         “crunches millions of transactions each night, pinpointing price shifts for every single unit on

         the platform at any point in time.”33 [Emphasis added.]

                 54.      Figure 1, below, is a diagram from an eBook published by RealPage on its

         website.34    It demonstrates how RealPage aggregates the data (including nonpublic lease

         transaction data) which enables RealPage to coordinate pricing among its clients.

                 Figure 1




                 55.      By enabling property managers to outsource lease pricing decisions to the software,

         Defendant RealPage has transformed rental markets. Where lease prices were formerly set to

         maximize occupancy rates, increasing revenue on individual rental units has become the driving

         force. David Hannan, senior vice president at the Morgan Group, a Houston-based property

         manager, which grew revenue 5% above expectations when it implemented YieldStar, characterized

         the transformation like this: “My generation grew up worshipping the occupancy gods. We learned




         33
                 YieldStar Calculates the Right Rent Price at the Right Time, REALPAGE VIDEOS,
         https://www.realpage.com/videos/yieldstar-measures-price-elasticity/ (last visited Nov. 1, 2022).
         34
                 3 WAYS TO LEVERAGE AI FOR MAXIMUM                                   NOI      8    (2022)      (ebook),
         https://www.realpage.com/ebooks/leverage-ai-maximum-noi/.


                                                18
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 18 of 39 PageID #: 18
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         that if you were not 95 percent-plus occupied, the asset was failing. But that’s not necessarily true

         anymore . . . [t]his totally turns the industry upside down.”35                RealPage characterizes this

         transformation as a shift from an “occupancy focus” to “rent growth focus.”36

                 56.      Other traditional aims for a healthy rental property, such as low turnover rates, have

         also been abandoned. Ric Campo, the CEO of Defendant Camden said his turnover rates increased

         around 15 percentage points in 2006 after implementing YieldStar. Despite that increase in

         turnover rates, Camden’s overall same-property revenue grew over 7% in its first year using

         YieldStar. “What we found,” Campo said, “was that driving our turnover rate up actually captured

         additional revenue.”37 While Camden’s turnover expenses increased by $2.5 million, revenue

         increased $12.5 million. According to Campo, “[T]he net effect of driving revenue and pushing

         people out was $10 million in income.”38

                 57.      Additionally, Defendant RealPage provides its customers with real-time

         information about their competitors sufficient to avoid oversupply of units caused by natural ebbs

         and flows in the markets. The algorithm uses the occupancy data it collects to recommend lease

         renewal dates that are staggered to avoid any period of oversupply. Property managers can then

         hold units vacant for a period, while keeping rent prices inflated.39 This strategy of staggering of

         lease renewal dates smooths out natural fluctuations of supply and demand, which further reduces

         any incentive for Defendants and their co-conspirators to undercut their inflated prices. This


         35
                Joe Bousquin, In the Back Office, Revenue Management Software is Causing a Revolution,
         Multifamily Executive (Apr. 20, 2009), https://www.multifamilyexecutive.com/technology/in-
         the-back-office-revenue-management-software-is-causing-a-revolution_o.
         36
                 Supra note 7.
         37
                 Bousquin, supra note 35.
         38
                 Id.
         39
                 Supra note 7, at 4-5.


                                                19
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 19 of 39 PageID #: 19
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         incentive is always the greatest in periods of oversupply, when falling revenues could be replaced

         by achieving full occupancy at reduced rents.

                 C.       Property Managers Who Adopted YieldStar/AI Revenue Management Did
                          so with the Common Goal of Raising Rent Prices

                 58.      Property managers who use YieldStar/AI Revenue Management do so with the

         explicit and common goal of increasing rents for all members of the cartel by using coordinated

         algorithmic pricing. Defendant RealPage advertises that its customers “outperform the market by

         2%-7% year over year,”40 by switching from an “occupancy focus” to a “rent growth focus.”41

         RealPage’s clients find its revenue management services particularly helpful because those

         services allow the property managers to “make sure we’re limiting our supply when there isn’t too

         much demand.”42 As one property manager described in a promotional video on RealPage’s

         website, YieldStar takes on the burden of “implementing the increases in rents . . . it’s running the

         lease expiration for us and we’re not manually doing it which means we’re increasing our revenue

         for those units.”43

                 59.      To join the cartel, property managers must agree to abide by certain conditions.

         They must provide Defendant RealPage with real-time access to detailed, nonpublic data regarding

         their residential leases. They must agree to outsource daily pricing and ongoing revenue oversight


         40
                 Introducing AI Revenue Management: Next-Generation Price Optimization That Unlocks
         Hidden                 Yield,             REALPAGE,                 INC.            (2020),
         https://www.realpage.com/storage/files/pages/pdfs/2021/02/ai-revenue-management-lookbook-
         nov20.pdf.
         41
                 Supra note 7.
         42
                RealPage Revenue Management Maximizes Market Opportunity, REALPAGE VIDEOS (Dec
         2,      2019),        https://www.realpage.com/videos/revenue-management-maximizes-market-
         opportunity/ (interview with John Kirchmann, CFO of IRET Property Management).
         43
                YieldStarTM Revenue Management Optimizes Rent Pricing, REALPAGE VIDEOS (Sept. 10,
         2019), https://www.realpage.com/videos/yieldstar-optimizes-rent-pricing/ (testimonial of Holly
         Casper, Vice President of Operations for RKW Residential).


                                                20
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 20 of 39 PageID #: 20
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         to RealPage. Importantly, they agree to rent their units at the algorithm’s recommended price,

         even where it is higher than they would have previously considered. While it is possible for

         property managers to reject the algorithm’s suggested price for a given unit, RealPage uses

         multiple mechanisms to enforce what it refers to as pricing “discipline” or “courage.” The result

         is that property managers adopt at least 80% and as much as 90% of suggested rates.44

                 60.       Defendant RealPage provides participating property managers with daily

         recommended rents for available rental units. The property manager must either accept these rates

         or provide justification to a RealPage Revenue Management Advisor for their divergence from the

         recommended price. And, according to a former RealPage executive, property managers only ever

         offered minimal pushback on the recommended rates.45

                 61.       Unlike renters, Defendant RealPage’s customers (the property managers) are fully

         aware when they sign up that the higher rents achieved by using the algorithm are the result of

         coordinated pricing among competing property managers. Before the introduction of rent-setting

         software, markets for residential leases were characterized by a prisoner’s dilemma. While higher

         rents across the board would benefit all landlords, one self-interested landlord could outperform

         the rest by undercutting the price and achieving full occupancy.                  Without assurances that

         competitors will refrain from undercutting rent prices, individual landlords are forced to price their

         units to maximize occupancy.

                 62.       By enforcing price discipline and setting rents that result in lower occupancy rates,

         Defendant RealPage provides assurances that all property managers using its software are doing

         the same thing – raising rents and accepting lower occupancy instead of lowering the price to fill



         44
                 See Vogell, supra note 5.
         45
                 See id.


                                                21
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 21 of 39 PageID #: 21
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         units. In this way, RealPage enables property managers to overcome the prisoner’s dilemma that

         prevented coordinated pricing in the historical market for residential rental apartments.46

                 63.      Defendant RealPage’s clients are also aware that the rent growth they achieve is

         based on real-time sharing of nonpublic lease transactions and pricing data. RealPage calls this

         information exchange “continuous optimization through connected intelligence” and brags that it

         is “[b]uilt on the market’s largest real-time data set.”47 Coordinated algorithmic pricing allows

         property managers to, in RealPage’s own words, “outsource daily pricing and ongoing revenue

         oversight” to RealPage, allowing RealPage to set prices for client property managers’ properties

         “as if we [RealPage] own them ourselves.” Put differently, the software allows the independent

         property managers to operate as if they were one company setting prices.

                 D.       The Conspiracy Caused Inflated Rental Prices and Reduced Occupancy of
                          Residential Rental Units in the Greater Miami, Orlando, Jacksonville, and
                          Tampa Metro Areas

                 64.      Defendant RealPage’s model works to increase revenue by raising rent prices while

         accepting lower occupancy levels. RealPage has not been shy about this mechanism of action.

         During a 2017 earnings call, then-CEO of RealPage Steve Winn offered as an example one large

         property company, managing over 40,000 units, which learned it could make more profit by

         operating at a lower occupancy level that “would have made management uncomfortable

         before.”48 Prior to adopting YieldStar, the company had targeted 97% or 98% occupancy rates in




         46
               See Salil K. Mehra, Price Discrimination-Driven Algorithmic Collusion: Platforms for
         Durable Cartels, 26 STAN. J.L. BUS. & FIN. 171, 197-203 (2021).
         47
                 Supra note 7.
         48
                 Vogell, supra note 5.


                                                22
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 22 of 39 PageID #: 22
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         markets where it was a leader. After outsourcing rent prices to the algorithm, the company began

         targeting 3% to 4% revenue growth while operating at a 95% occupancy rate.49

                 65.      Defendant RealPage’s software not only facilitates price hikes, but it also allows

         conspirators to maintain higher prices. RealPage claims that Defendant property managers and

         their coconspirators were able to maintain rent prices 7% above the competitive market rate.

         Speaking at a RealPage webcast, America Melragon, a former VP of revenue management for

         Independence Realty Trust, discussed how property managers can stabilize rents by using

         RealPage’s software. According to Melragon, “We’ve noticed . . . competitors that are manually

         pricing have already started to experience pretty significant swings in their effective price. . . . For

         us, really having that insight into our own individual supply and demand exposure has helped our

         price pretty much stay in line with where we anticipated it to be.”50

                 66.      Defendants and their co-conspirators are aware that the higher revenues they obtain

         using Defendant RealPage’s software are the result of increasing average rent prices in the

         neighborhoods they serve. In a video shown at a conference for real estate executives in the

         summer of 2021, RealPage vice president Jay Parsons noted that average rents had recently shot

         up by 14%. “Never before have we seen these numbers,” he said.51 Parsons then asked Andrew

         Bowen, another RealPage executive, what role he thought the company had played in the

         unprecedented increase. “I think it’s driving it, quite honestly,” Bowen replied.52




         49
                 Id.
         50
                IRT Gains Pricing Stability with RealPage Revenue Management, REALPAGE VIDEOS
         (June 17, 2020), https://www.realpage.com/videos/irt-gains-pricing-stability/.
         51
                 Vogell, supra note 5.
         52
                 Id.


                                                23
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 23 of 39 PageID #: 23
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                 67.      Defendants’ conspiracy allows property managers to hike rents even higher when

         demand is strong without needing to lower them when it is weak. It untethers rent prices from

         their natural constraints, forcing renters to spend more money than they would have in a

         competitive rental market.

                 68.      Specifically, within each of the Greater Miami, Orlando, Jacksonville, and Tampa

         Metro Areas, rental prices have consistently increased since 2016, while vacancy rates have either

         steadily increased or have fluctuated within a narrow range (excluding the COVID period).53 In

         the Greater Miami Metro Area, vacancy rates have fluctuated between 6.1% and 8.5%, hitting the

         8.5% peak in 2016, even as rents continued to climb during that same year; in the Greater Orlando

         Metro Area, vacancy rates rose steadily from a low of 3.7% to a high of 5.9% in 2020, while rental

         rates increased year-over-year; in the Greater Jacksonville Metro Area, vacancy rates have

         fluctuated between 4.7% and 7.2%; and in the Greater Tampa Metro Area vacancy rates steadily

         rose from a low of 3.7% in 2015 to 4.7% in 2020, with a minor decrease in 2019 to 4.5%.54 Even

         during times of comparatively high vacancy rates in each of the Greater Miami, Orlando,

         Jacksonville, and Tampa Metro Areas, rents rose steadily across all four metro areas across during

         all time periods but one (Orlando in 2020). This inelasticity in each of the markets demonstrates

         that the forces of supply and demand no longer control the price of rent in the Greater Miami,

         Orlando, Jacksonville, and Tampa Metro Areas.




         53
                 Due to conditions caused by the COVID-19 pandemic that will take years to unwind
         (including generally slowed construction of new apartment units and restrictions on the availability
         of evictions), current vacancy numbers do not accurately reflect market forces.
         54
                 See Figures 2 through 4, infra.


                                                24
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 24 of 39 PageID #: 24
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                 69.      Despite this, with the help of RealPage, Defendants were able to continue to raise

         rents year over year over year, regardless of whether vacancies were rising, falling, or flat,

         demonstrating the disconnect between supply and demand:




         Figure 2. Miami Metro Area Effective Rent and Vacancy Rate




                                                25
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 25 of 39 PageID #: 25
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         Figure 3. Orlando Metro Area Effective Rent and Vacancy Rate.


                                                       Orlando Metro Apartment‐Rental Effective Rent and Annual
                                                                       Vacancy Rate 2014‐2022
                                              $1,700                                                                                 6.5

                                              $1,600
                                                                                                                                     6
            Monthly Effective Rent Per Unit




                                              $1,500
                                                                                                                                     5.5
                                              $1,400




                                                                                                                                           Vacancy Rate %
                                              $1,300                                                                                 5

                                              $1,200                                                                                 4.5
                                              $1,100
                                                                                                                                     4
                                              $1,000
                                                                                                                                     3.5
                                               $900

                                               $800                                                                                  3
                                                         2014   2015   2016       2017         2018   2019    2020     2021   2022

                                                                              Effective Rent            Vacancy Rate




         Figure 4. Tampa Metro Area Effective Rent and Vacancy Rate




                                                                 26
                               Case 3:23-cv-00381 Document
                                                     DIMOND1  Filed& ROTHSTEIN,
                                                           KAPLAN    03/16/23 P.A.
                                                                                Page 26 of 39 PageID #: 26
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                 E.       “Plus Factors” in the Residential Rental Markets Provide Additional
                          Evidence of Price Fixing Conspiracies

                 70.      Prominent legal and economic antitrust scholars studying collusive behavior have

         identified certain “plus factors,” which are “economic actions and outcomes, above and beyond

         parallel conduct by oligopolistic firms, that are largely inconsistent with unilateral conduct but

         largely consistent with explicitly coordinated action,” and therefore support an inference of

         collusion.55    Each plus factor that is present constitutes a piece of circumstantial evidence

         supporting active collusion, as opposed to mere conscious parallelism. The factors that provide

         the most probative value and lead to a strong inference of explicit collusion are referred to as

         “super plus factors.”56

                 71.      Here, several plus and super plus factors support the plausible inference that

         Defendants are members of a per se unlawful price fixing cartel. These include: (i) Defendants’

         exchange of competitively sensitive information, (ii) the presence of a price-verification scheme,

         (iii) a motive to conspire, (iv) opportunities and invitations to collude, (v) high barriers to entry,

         (vi) high switching costs for renters, (vii) high market concentration, (viii) stability in the market

         shares of large residential apartment managers, and (ix) maintenance of excess capacity during

         periods of rising prices.

                 72.      First, the reciprocal sharing of firm-specific competitively sensitive information

         that would normally remain private is a “super plus factor” that leads to a strong inference of active

         collusion.57 As described above, Defendant RealPage requires client property managers to input


         55
                William E. Kovacic, Plus Factors and Agreement in Antitrust Law, 110 MICH. L. REV. 393,
         393 (2011).
         56
                 See id. at 396-97.
         57
               Christopher R. Leslie, The Probative Synergy of Plus Factors in Price-Fixing Litigation,
         115 NW. UNIV. L. REV. 1581, 1608 (2021).


                                                27
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 27 of 39 PageID #: 27
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         data on actual rents paid and occupancy rates, along with detailed records of lease transactions.

         This data, which would normally be kept private, is fed into the algorithm which sets coordinated

         rents among competing property managers. Importantly, individual property managers would be

         competitively disadvantaged by providing private data to other property managers unilaterally, and

         rational actors will only do so with the expectation that they will benefit from similar private

         information shared by its competitors.

                 73.      Second, Defendant RealPage provides participating property managers with a

         price-verification scheme.        As described above, RealPage pushes its clients to accept the

         algorithm’s rent price at least 80%-90% of the time and clients cannot freely diverge from the

         algorithm’s price. This type of price-verification makes little sense absent collusion.58

                 74.      Third, Defendant RealPage provides property managers with a motive to conspire

         by advertising its software and claiming it can increase revenue by 3% to 7%.59

                 75.      Fourth, the YieldStar/AI Revenue Management software itself is an opportunity to

         coordinate prices that was previously unavailable, and Defendant RealPage’s advertisements are

         naked invitations to collude.          Additionally, RealPage hosts online forums and in-person

         conferences for property managers60 and maintains standing committees of cartel members to

         advise on pricing strategy,61 all of which provide opportunities for more direct collusion.

                 76.      Fifth, the markets for residential apartment rentals in the Greater Miami, Orlando,

         Jacksonville, and Tampa Metro Areas are all highly concentrated. Desirable neighborhoods in

         many major cities are dominated by large corporate property managers, such as Defendants


         58
                 Id. at 1602.
         59
                 Supra note 7, at 6.
         60
                 Supra note 8.
         61
                 Supra note 9.


                                                28
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 28 of 39 PageID #: 28
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         Greystar and Camden, which are themselves increasingly controlled by even larger private equity

         firms.62 For example, ProPublica found that in one popular Seattle neighborhood, 70% of the

         apartments were managed by just 10 property managers, all of which were using Defendant

         RealPage’s pricing software.63

                 77.      Sixth, multifamily residential building owners and operators face significant entry

         barriers.     These include the high cost of acquiring property and establishing a property

         management infrastructure as well as ongoing costs of building maintenance and regulatory

         compliance. Even small multifamily rental properties cost millions of dollars to acquire. Larger

         properties run into the hundreds of millions of dollars to own and manage and take several years

         and significant experience to build or acquire. Thus, new entrants into residential real estate

         leasing markets are unlikely to discipline cartel pricing.

                 78.      Seventh, there are significant switching costs that prevent effective price

         competition in rental markets. In other markets with low switching costs, consumers can stop

         purchasing a particular manufacturer’s product when its prices are no longer competitive. Rental

         contracts, however, are usually for a term of at least one year. Renters who break their lease during

         the rental term will likely face significant financial penalties for doing so. These penalties may

         include, among other things: the forfeiture of a security deposit (typically at least one month’s

         rent), or the requirement that the renter is to continue paying rent until the property is released.

         Because of these high switching costs, renters cannot readily switch from one rental unit to another

         in the event their current rental unit no longer aligns with market prices. This creates a certain

         degree of natural market power for owners of rental properties and makes collusion more effective


         62
                 Heather Vogell, When Private Equity Becomes Your Landlord, ProPublica (Feb. 7, 2022),
         https://www.propublica.org/article/when-private-equity-becomes-your-landlord.
         63
                 Vogell, supra note 5.


                                                29
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 29 of 39 PageID #: 29
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         because even if a competing property manager were to offer lower prices on available units,

         customers will not typically break their leases to enter a lease for a lower cost property given the

         substantial cost of doing so.

                 79.      Eighth, the relative market share held by the largest residential apartment managers

         has been remarkably stable. Since 2018, the list of the top 10 apartment managers in the country

         has been virtually identical, with a total of 13 companies appearing on the combined list. The

         small variance is due largely to the merger between two of the top five apartment managers in

         2020.64 Stability of relative market shares indicates a market that lacks dynamic competition.

                 80.      Finally, Defendant RealPage’s clients maintain excess capacity while

         simultaneously raising prices. As described above, the ability of RealPage’s clients to increase

         their revenue depends on them continuing to raise rental prices while simultaneously maintaining

         a higher vacancy rate than they would have independently. This is evidence of collusion because

         in a competitive market, firms with surplus inventory normally reduce prices to grow market

         share.65 As described above, RealPage and its clients are open about how they can achieve higher

         revenues while maintaining a lower occupancy rate than they could setting prices independently.




         64
                 NMHC 50 Largest Apartment Managers, Multifamily Housing Council,
         https://www.nmhc.org/research-insight/the-nmhc-50/top-50-lists/2022-top-managers-list/ (2022);
         https://www.nmhc.org/research-insight/the-nmhc-50/top-50-lists/2021-top-manager-list/ (2021);
         https://www.nmhc.org/research-insight/the-nmhc-50/top-50-lists/2020-top-managers-list/ (2020);
         https://www.nmhc.org/research-insight/the-nmhc-50/top-50-lists/2019-managers-list/     (2019);
         https://www.nmhc.org/research-insight/the-nmhc-50/top-50-lists/2018-manager-list/ (2018) (last
         visited Nov. 1, 2022).
         65
                 See Leslie, supra note 57, at 1606.


                                                30
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 30 of 39 PageID #: 30
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                                                 RELEVANT MARKETS

                 81.      The relevant product markets are the markets for residential units for rent, and the

         three relevant geographic markets are in and around Miami, Orlando, Jacksonville, and Tampa,

         Florida.

                 82.      Residential units for rent in Miami, Orlando, Jacksonville, and Tampa each

         comprise a distinct product market, one that is not realistically competing with other municipalities

         because each municipality is distinct and has a number of factors affecting the price of living in

         that respective location.

                 83.      Consumers do not consider apartments, condominiums, or houses for purchase as

         substitutes for multifamily rental apartment units because, among other reasons, purchase of real

         estate requires the ability to make a substantial down payment and to obtain financing. Nor is

         single-family real estate considered an economic substitute for multifamily residential real estate.

         For example, single-family properties typically do not offer amenities and security.

                 84.      Geographically, given that commuting distance to a place of work or school is a

         significant (if not the primary) geographic constraint on where a person chooses to live, renters in

         the Greater Miami, Orlando, Jacksonville, and Tampa Metro Areas do not consider multifamily

         residential leases in other metro areas as adequate substitutes for multifamily residential leases in

         the Greater Miami, Orlando, Jacksonville, and Tampa Metro Areas, because the daily commute

         would take multiple hours in each direction.

                                           CLASS ACTION ALLEGATIONS

                 85.      Plaintiffs bring this action on behalf of themselves and all others similarly situated

         as a class action under Federal Rules of Civil Procedure 23(a) and 23(b)(3), seeking damages, as

         well as equitable and injunctive relief, on behalf of the following Classes:




                                                31
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 31 of 39 PageID #: 31
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                          (a)     All persons and entities who paid rent for a residential unit in or around

                                  Miami, Florida, which was owned, managed, or controlled by a Defendant

                                  using YieldStar, AI Revenue Management, or any other RealPage software

                                  from January 1, 2016, to the present.

                          (b)     All persons and entities who paid rent for a residential unit in or around

                                  Orlando, Florida, which was owned, managed, or controlled by a Defendant

                                  using YieldStar, AI Revenue Management, or any other RealPage software

                                  from January 1, 2016, to the present.

                          (c)     All persons and entities who paid rent for a residential unit in or around

                                  Jacksonville, Florida, which was owned, managed, or controlled by a

                                  Defendant using YieldStar, AI Revenue Management, or any other RealPage

                                  software from January 1, 2016, to the present.

                          (d)     All persons and entities who paid rent for a residential unit in or around

                                  Tampa, Florida, which was owned, managed, or controlled by a Defendant

                                  using YieldStar, AI Revenue Management, or any other RealPage software

                                  from January 1, 2016, to the present.

                 86.      Specifically excluded from each Class are Defendants; the officers, directors, or

         employees of any Defendant; any entity in which any Defendant has a controlling interest; and any

         affiliate, legal representative, heir or assign of any Defendant. Also excluded from each Class are

         any federal, state, or local governmental entities, any judicial officer presiding over this action and

         the members of his/her immediate family and judicial staff, any juror assigned to this action, and

         any co-conspirator identified in this action.




                                                32
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 32 of 39 PageID #: 32
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                 87.      Each Class is so numerous as to make joinder impracticable. Plaintiffs do not know

         the exact number of Class members in each Class because such information presently is in the

         exclusive control of Defendants. Plaintiffs believe that, due to the nature of the residential rental

         market, there are likely tens of thousands of members in each Class, respectively, in Miami,

         Orlando, Jacksonville, and Tampa, Florida.

                 88.      Common questions of law and fact exist as to all members of each Class;

         respectively in Miami, Orlando, Jacksonville, and Tampa, Florida. Plaintiffs and the Classes were

         injured by the same unlawful price fixing conspiracy, and Defendants anticompetitive conduct was

         generally applicable to all the members of each Class, and relief to each Class as a whole is

         appropriate. Each class shares common issues of fact and law, which include, but are not limited

         to the following:

                          (a)     Whether Defendants and their co-conspirators engaged in a combination or

                                  conspiracy to fix, raise, maintain or stabilize rent prices for residential units

                                  in the relevant markets;

                          (b)     The duration of the conspiracy alleged herein and the acts performed by

                                  Defendants and their co-conspirators in furtherance of the conspiracy;

                          (c)     Whether such combination or conspiracy violated the federal antitrust laws;

                          (d)     Whether the conduct of Defendants and their co-conspirators, as alleged in

                                  this Complaint, caused injury to the Plaintiffs and other members of the

                                  Classes;

                          (e)     Whether Defendants caused Plaintiffs and the Classes to suffer damages in

                                  the form of overcharges on rent for residential units;

                          (f)     The appropriate class-wide measure of damages; and




                                                33
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 33 of 39 PageID #: 33
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                          (g)     The nature of appropriate injunctive relief to restore competition in the

                                  Greater Miami, Orlando, Jacksonville, and Tampa Metro Area residential

                                  apartment rental markets.

                 89.      Plaintiffs’ claims are typical of the claims of members of each Class, and Plaintiffs

         will fairly and adequately protect the interests of the Classes. Plaintiffs and all members of each

         Class are similarly affected by Defendants’ unlawful conduct in that they paid artificially inflated

         rent for residential units managed cartel members.

                 90.      Plaintiffs’ claims arise out of the same common course of conduct giving rise to the

         claims of the other members of each Class. Plaintiffs’ interests are coincident with and typical of,

         and not antagonistic to, those of the other members of each Class.

                 91.      Plaintiffs have retained counsel with substantial experience litigating complex

         antitrust class actions in myriad industries and courts throughout the nation.

                 92.      The questions of law and fact common to the members of each Class predominate

         over any questions affecting only individual members, including issues relating to liability and

         damages.

                 93.      Class action treatment is a superior method for the fair and efficient adjudication of

         the controversy, in that, among other things, such treatment will permit a large number of similarly

         situated persons to prosecute their common claims in a single forum simultaneously, efficiently

         and without the unnecessary duplication of evidence, effort and expense that numerous individual

         actions would engender. The benefits of proceeding through the class mechanism, including

         providing injured persons or entities with a method for obtaining redress for claims that it might

         not be practicable to pursue individually, substantially outweigh any difficulties that may arise in

         management of this class action. Moreover, the prosecution of separate actions by individual




                                                34
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 34 of 39 PageID #: 34
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         members of the Classes would create a risk of inconsistent or varying adjudications, establishing

         incompatible standards of conduct for Defendants.

                 94.      Plaintiffs know of no difficulty likely to be encountered in the maintenance of this

         action as a class action under Federal Rule of Civil Procedure 23.

                                                  ANTITRUST INJURY

                 95.      Defendants’ anticompetitive conduct had the following effects, among others:

                          (a)     Competition among Defendants has been restrained or eliminated with

                                  respect to residential rental units in the three relevant markets of the Greater

                                  Metro Areas of Miami, Orlando, Jacksonville, and Tampa, as heretofore

                                  defined;

                          (b)     The price of residential rental units in and around the Greater Metro Areas

                                  of Miami, Orlando, Jacksonville, and Tampa, have each been respectively

                                  fixed, stabilized or maintained at artificially high levels; and

                          (c)     Individuals have been deprived of free and open competition.

                 96.      Defendants’ violations of the antitrust laws have caused Plaintiffs and the Classes

         to pay higher prices for residential rental units in and around Miami, Orlando, Jacksonville, and

         Tampa, Florida, than they would have in the absence of Defendants’ illegal contract, combination,

         or conspiracy, and as a result, have suffered damages in the form of overcharges paid on their

         rental units.

                 97.      This is an injury of the type that the antitrust laws were meant to punish and prevent.

                                           FRAUDULENT CONCEALMENT

                 98.      Plaintiffs and members of each Class had neither actual nor constructive knowledge

         of the facts constituting their claim for relief. Plaintiffs and members of the Classes did not

         discover, and could not have discovered through the exercise of reasonable diligence, the existence


                                                35
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 35 of 39 PageID #: 35
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         of the conspiracy alleged herein until shortly before filing this Complaint. Defendants engaged in

         a secret conspiracy that did not reveal facts that would put Plaintiffs or the Class on inquiry notice

         that there was a conspiracy to fix residential rental unit prices in and around Miami, Orlando,

         Jacksonville, and Tampa, Florida.

                 99.      The combination and conspiracy alleged herein was fraudulently concealed by

         Defendants by various means and methods, including, but not limited to, sharing non-public data

         via YieldStar/AI Revenue Management, secret meetings, surreptitious communications between

         Defendants by the use of telephone or in-person meetings at trade association meetings (and

         elsewhere), in order to prevent the existence of written records, limiting any explicit reference to

         competitor or supply restraint communications on documents, and concealing from non-

         conspirators the existence and nature of their competitor supply restraints and price discussions.

         The conspiracy was by its nature self-concealing.

                 100.     Throughout the Class Period set forth in this Complaint, Defendants and their co-

         conspirators effectively, affirmatively, and fraudulently concealed their unlawful combination and

         conspiracy from Plaintiffs and Class members.

                 101.     The residential rental market is not exempt from antitrust regulation, and thus,

         before October 15, 2022, when ProPublica published the article “Rent Going Up? One Company’s

         Algorithm Could Be Why.” Plaintiffs reasonably considered it to be a competitive industry.

         Accordingly, a reasonable person under the circumstances would not have been alerted to begin to

         investigate the legitimacy of Defendants’ rental practices prior to ProPublica’s article revealing

         the anticompetitive practices of Defendants.

                 102.     Plaintiffs exercised reasonable diligence. Plaintiffs and the members of the Classes

         could not have discovered the alleged conspiracy at an earlier date by the exercise of reasonable




                                                36
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 36 of 39 PageID #: 36
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         diligence because of the deceptive practices and techniques of secrecy employed by Defendants

         and their co-conspirators to conceal their combination.

                 103.     By virtue of the fraudulent concealment of their wrongful conduct by Defendants

         and their co-conspirators, the running of any statute of limitations has been tolled and suspended

         with respect to any claims and rights of action that Plaintiffs and the other Class members have as

         a result of the unlawful combination and conspiracy alleged in this Complaint.

                                                  CLAIMS FOR RELIEF

                                                        COUNT I
                                          Price Fixing in Violation of Section 1
                                           of the Sherman Act (15 U.S.C. §1)

                 104.     Plaintiffs repeat the allegations set forth above as if fully set forth herein.

                 105.     Beginning at a time currently unknown to Plaintiffs, but at least as early as January

         1, 2016 (further investigation and discovery may reveal an earlier date), and continuing through

         the present, Defendants and their co-conspirators entered and engaged in a contract, combination,

         or conspiracy to unreasonably restraint of trade in violation of Section 1 of the Sherman Act (15

         U.S.C. §1).

                 106.     The contract, combination or conspiracy consisted of an agreement among the

         Defendants and their co-conspirators to fix, raise, stabilize, or maintain at artificially high levels

         the rents they charge for residential units in and around the relevant Florida markets: Miami,

         Orlando, Jacksonville, and Tampa.               Defendants’ conspiracy involved the exchange of

         competitively sensitive information between and among Defendants, causing anticompetitive

         effects without sufficient procompetitive justifications.

                 107.     Plaintiffs and members of each Class have been injured and will continue to be

         injured in the form of overcharges on rent. Defendants’ anticompetitive conduct had the following

         effects, among others:


                                                37
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 37 of 39 PageID #: 37
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
                          (a)     Competition among Defendants has been restrained or eliminated with

                                  respect to residential rental units in and around Miami, Orlando,

                                  Jacksonville, and Tampa, Florida;

                          (b)     The price of residential rental units in and around Miami, Orlando,

                                  Jacksonville, and Tampa, Florida have been fixed, stabilized or maintained

                                  at artificially high levels; and

                          (c)     Individuals have been deprived of free and open competition.

                 108.     This conduct is unlawful under the per se standard. Defendants’ conduct is also

         unlawful under either a “quick look” or rule of reason analysis because the agreement is factually

         anticompetitive with no valid procompetitive justifications. Moreover, even if there were valid

         procompetitive justifications, such justifications could have been reasonably achieved through

         means less restrictive of competition.

                 109.     Plaintiff and members of each Class are entitled to treble damages, attorneys’ fees,

         and costs, and an injunction against Defendants to end the ongoing violations alleged herein.

                                                 PRAYER FOR RELIEF

                 WHEREFORE, Plaintiffs, on behalf of themselves, the Classes, and all others so similarly

         situated, respectfully request that:

                 A.       The Court determine that this action may be maintained as a class action under Rules

         23(a) and (b)(3) of the Federal Rules of Civil Procedure, appoint Plaintiffs as Class Representatives

         and their counsel of record as Class Counsel, and direct that notice of this action, as provided by

         Rule 23(c)(2) of the Federal Rules of Civil Procedure, be given to the Classes, once certified;

                 B.       The Court adjudge and decree that the acts of Defendants are illegal and unlawful,

         including the agreement, contract, combination, or conspiracy, and acts done in furtherance thereof

         by Defendants and their co-conspirators be adjudged to have been a per se violation (or


                                                38
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 38 of 39 PageID #: 38
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
         alternatively illegal under a quick look or full-fledged rule of reason violation) of Section 1 of the

         Sherman Act (15 U.S.C. §1);

                 C.       The Court permanently enjoin and restrain Defendants, their affiliates, successors,

         transferees, assignees, and other officers, directors, agents, and employees thereof, and all other

         persons acting or claiming to act on their behalf, from in any manner continuing, maintaining, or

         renewing the conduct, contract, conspiracy, or combination alleged herein, or from entering into

         any other contract, conspiracy, or combination having a similar purpose or effect, and from adopting

         or following any practice, plan, program, or device having a similar purpose or effect;

                 D.       The Court enter judgment against Defendants, jointly and severally, and in favor of

         Plaintiffs and members of the Classes for treble the amount of damages sustained by Plaintiffs and

         each Class as allowed by law, together with costs of the action, including reasonable attorneys’ fees,

         pre- and post-judgment interest at the highest legal rate from and after the date of service of this

         Complaint to the extent provided by law; and

                 E.       The Court award Plaintiffs and members of the Classes such other and further relief

         as the case may require and the Court may deem just and proper under the circumstances.

                                               JURY TRIAL DEMANDED

                 Plaintiffs demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of Civil

         Procedure, of all issues so triable.

          Dated: March 16, 2023              By:  /s/ Jeffrey B. Kaplan
                                                    Jeffrey B. Kaplan, Esq.
                                                     Fla. Bar No.: 39977
                                                     Jkaplan@dkrpa.com
                                                    Maria V. Ceballos, Esq.
                                                     Fla. Bar No. 1038726
                                                     Vceballos@dkrpa.com
                                             DIMOND KAPLAN & ROTHSTEIN, P.A.
                                             2665 South Bayshore Drive, PH-2B
                                             Miami, Florida 33133
                                             Telephone: (305) 374-1920
                                             Counsel for Plaintiffs Christopher Saloman and Michael Strauss
                                                39
              Case 3:23-cv-00381 Document
                                    DIMOND1  Filed& ROTHSTEIN,
                                          KAPLAN    03/16/23 P.A.
                                                               Page 39 of 39 PageID #: 39
OFFICES AT GRAND BAY PLAZA · 2665 SOUTH BAYSHORE DRIVE · PENTHOUSE 2B · MIAMI, FLORIDA 33133 · TEL. 305.374.1920 FAX. 305.374.1961
